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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-01129

   ERIC COOMER, PhD.,

         Plaintiff

   v.

   MICHAEL J. LINDELL, FRANKSPEECH LLC,
   AND MY PILLOW, INC.,

         Defendants


                                    EXHIBIT 40
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   >>>
   >>> From: Deb/Scott Romie

   >>> >
   >>> Sent: Tuesday, August 10, 2021 8:28 PM
   >>> To: Carrie Ragnow

   >>> Cc: Deb/Scott Romie

   >>> >
   >>> Subject: Per conversation with Terrie on 8/10/21..... ripped king
   >>> sheet
   >>>
   >>> Hello Carrie.
   >>> Attached is the photo of the rip on the top sheet and a photo of the sales receipt.
   >>> We’ll be at the Chaska office tomorrow to exchange the defective sheets.
   >>> Thank you for making this easy!
   >>>
   >>> The exchange is for a set of king sized blush set of sheets.
   >>>
   >>> Thanks much!
   >>> Deb Romie

   >>>
   >>> Sent from Mail<https://go.microsoft.com/fwlink/?LinkId=550986> for
   >>> Windows 10
   >>>
   >>> <2021-07-07 MyPillow Receipt Gillette.jpg>
   >>> <2021-08-10 MyPillow King Sheet Rip.jpg>




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